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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF KENTUCKY
                                SOUTHERN DIVISION
                                     PIKEVILLE

  OUTFRONT MEDIA, LLC, et al.,                      )
                                                    )
                              PLAINTIFF,            )
                                                    )
  v.                                                )      Case No. 7:17-CV-66-REW-EBA
                                                    )
                                                    )
  TERRI LEMASTER, et al.,                           )
                                                    )
                              DEFENDANTS.           )



      MOTION OF THE DEFENDANTS, COMMONWEALTH OF KENTUCKY,
     TRANSPORTATION CABINET, AND GREG THOMAS, IN HIS OFFICIAL
  CAPACITY AS SECRETARY OF THE KENTUCKY TRANSPORTATION CABINET,
     TO: A) NOT BE IDENTIFIED AS A PARTY AT TRIAL; B) NOT ACTIVELY
  PARTICIPATE AT TRIAL; AND C) NOT BE REQUIRED TO FILE ANY PRE-TRIAL
               MOTIONS, RESPONSES AND/OR DISCLOSURES


         Come the Defendants, Commonwealth of Kentucky, Transportation Cabinet, and

  Greg Thomas, in his official capacity as Secretary of the Kentucky Transportation Cabinet

  (hereinafter collectively referred to as “KYTC”), by special appearance, and by and

  through counsel, and respectfully request the Court enter an Order stating KYTC shall:

  a) not be identified as a party at trial; b) not actively participate at trial; and c) not be

  required to file any pre-trial motions, responses and/or disclosures. In support, KYTC

  states as follows:

         This action centered around the ownership of off-premise static advertising

   devices (hereinafter “devices”) in Rockcastle County, Kentucky when they were cut
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   down and removed from real property owned by the Third Party Defendants, Randall

   and Brenda Powell (hereinafter “Powells”). The Defendants, Performance Media and

   Terri Lemaster (hereinafter collectively referred to as “Lemaster”), purported to obtain

   ownership of the devices from the Powells. Lemaster submitted paperwork to KYTC

   detailing the purported transfer of ownership of the devices and requesting off-premise

   advertising credits (hereinafter “credits”) upon the removal of the devices. KYTC

   agreed to grant four (4) credits upon the removal of said devices. Following the removal

   of the devices by Lemaster, the Plaintiff, Outfront Media, LLC (hereinafter “Outfront”)

   discovered said removal and claimed ownership to the devices and credits based on

   lease agreements entered into by Outfront and the Powells’ predecessor.          When

   Lemaster would not agree to Outfront’s request to have the credits transferred to

   Outfront, Outfront filed the subject action. Lemaster filed a counter-claim asserting

   ownership to the credits amongst her other claims.

        KYTC was named in this action for the sole purpose of distributing the credits to

  either Outfront or Lemaster upon the order of this Court. Per the Court’s Opinion and

  Order dated June 24, 2019 (DN 131), KYTC was ordered by this Court to award the credits

  to Outfront. Upon effectuating the Court’s Order of awarding the credits to Outfront,

  KYTC has no other involvement in the subject action.

        In light of the fact there are no remaining claims and/or issues before the Court

  involving KYTC, KYTC contends its presence at the trial of this action would only create

  confusion for the jury as to the actual issues being presented and could potentially

  prejudice KYTC as well as the other parties. As such, KYTC should not be identified as

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  a party at trial nor actively participate at trial. In turn, KYTC should also not be required

  to file any pretrial motions, responses and/or disclosures mandated by the Court in its

  Pre-Trial Management Order (DN 143).

         WHEREFORE, KYTC respectfully requests the Court enter an Order stating KYTC

  shall: a) not be identified as a party at trial; b) not actively participate at trial; and c) not

  be required to file any pre-trial motions, responses and/or disclosures.

                                       Respectfully submitted,

                                       /s/ Paul Kevin Moore
                                       Hon. Paul Kevin Moore
                                       Executive Director/General Counsel
                                       Kentucky Transportation Cabinet
                                       Office of Legal Services
                                       200 Mero Street
                                       Frankfort, KY 40601
                                       Telephone: 502-564-7650
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                                       and

                                       /s/ Kyle W. Ray
                                       Hon. Kyle W. Ray
                                       Kentucky Transportation Cabinet
                                       800 Newtown Court
                                       Lexington, KY 40511
                                       Telephone: 859-246-2355
                                       Email: kyle.ray@ky.gov
                                       Counsel for Defendants Commonwealth of Kentucky,
                                       Transportation Cabinet, and Greg Thomas, in his official
                                       capacity as Secretary of the Kentucky Transportation
                                       Cabinet




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                                 CERTIFICATE OF SERVICE

         I hereby certify that on this 23rd day of September, 2019, I electronically filed the

  foregoing document through the CM/ECF system with the Clerk, which will send notice

  of this electronic filing to the following:

  Hon. Christopher Wilson Brooker
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  Counsel for Ronald and Brenda Powell

         I also hereby certify that on this 23rd day of September, 2019, I sent the foregoing

  document through the U.S. Mail to the following:

  Ms. Terri Lemaster
  P.O. Box 612
  Belfry, KY 41514
  Pro se
                                                     /s/ Kyle W. Ray
                                                     Hon. Kyle. W. Ray




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